                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )
v.                                              )             No. 3:09-CR-141-4
                                                )
DOUGLAS DODD,                                   )            (JORDAN/GUYTON)
                                                )
                     Defendant.                 )
                                                )


                             MEMORANDUM AND ORDER

              All pretrial motions in this case have been referred to the undersigned pursuant

to 28 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

District Court as may be appropriate. This case is before the Court on Defendant Douglas

Dodd’s Motion for Discovery and Inspection of Evidence With Memorandum in Support [Doc.

92], filed on December 4, 2009. The Defendant entered a change of plea on February 9, 2010.

Accordingly, the Defendant’s discovery motion [Doc. 92] is DENIED as moot.

              IT IS SO ORDERED.

                                                    ENTER:


                                                         s/ H. Bruce Guyton
                                                    United States Magistrate Judge




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